 

 

5ad*”W?/ 3111/wu 1 i;sM

10

11

12

13

14

15

16§
17 .

718

19

20

21

j cmsTxNA BALAN (Pro se)

 

Case 2:19-cv-`00067-|\/|.]P Document 1 Filed 01/15/19 Page l of 20

4698 Arbors Circle

Mukilteo, WA-98275 ___F|.B) .__...B¢W
425-205-0200 --M --M

cbalan 2019 all com jAN 15 2019 SP
f WM
m MMWMWW

UNITED STATES DISTRICT CGURT
WESTERN DIS'I`RICT OF WASHINGTON

cAsENozg Cv 00

CRISTINA BALAN, ,
. . CoMPLAINT FoR
Pla‘“”ms)’ DEFAMATION
"" ANDREQI)EST FoR
n~UUNcTIoN
TESLA MOTORS INC, _ DEMAND FOR JURY TRM.L

y 'Defendant(s')_ Jury Tl'ial: ® YSS m NO

 

Complaint filed: January 15, 2019

 

`COMP‘LAINT AND RBQUEST FOR INJUNCTION - l

 

 

0$?7
L/\JP `

 

 

 

10
11
12
13
14
15
16
17
18
19
20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 2 of 20

Plaintiff, Cristina Balan, files this Complaint for Defamation~ against
Defendant Tesla Motors Inc., as presented here.
I. INTRODUCTION
l. Plaintiii`, Cristina Balan, is a well-respected, business person,
specializing in design and engineering, based in Mukiteo, WA. Tesla is a

corporation based in Palo Alto California, known worldwide for two general

product types, Electrical Vehicles and clean energy products

2. Mrs. Balan is most recognized for her critical Work on Tesla's

'vehicles, as memorialized by her engraved name on Tesla vehicle battery modules,

where her work was heavily focused for during her work at Tesla ii‘om 2016 to
2014. In fact, Tesla stated recently is still uses methodologies Ms. Balan created to
date. Ms Balan invested many years in her education, professional experience
relationships, and reputation Tesla willfully, and repeatedly, took steps to publicly
acme Ms. sam ana speciacauy, devane these lifetime invesnme.

3. 011 September 8“’, 2017, the Huftington Post published an article

1 about Mrs. Balan’s career, also referencing her relationship with Defendant. This

article appeared to describe Mrs. Balan and her circumstance in a positive light
She holds that the original statements were true,

4. On September l 1“‘, 2017, Defendant published multiple false and
defamatory statements on the Hufiington Post, settling the score with the Plainti&`,
alter the article questioned to ’I`esla’s CEO commitments and rules. Defendant

COMPLAINT AND REQUEST FOR INJUNCTION - 2

 

 

 

 

10
11
12
13

14

15

16 '

17

18

19

20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 3 of 20

ama ciwly, 1a d ama intended for worldwide add instant distribdadn, eha Ms.
Balan.’s acts were ‘clearly criminal’. l

5. Sorne of the acts Balan was accused of included theft of compmy
money and resources, for a project that value more than $10,000. Mrs. Balmi was 7
accused of using the company’s resources, without management approval
Defendant then claimed this was an attempt to complete a personal project Balan
developed on her own.

6. Ms. nasd maintained an ddversdadi 1ch wiseman win reid fdr

- the past 4 years, beginning in an arbitration over a former employment relationship

that added id 2014. wine engaged in this ddversanai nga reasoning ed
Defendant published multiple false and defamatory statements about Mrs. Balan,
in an unlawful and malicious fashion g
7. P_laintiff and Arbitrator Warner are in this case, and have been of the
same mind, that Ms. Balan’s behaviors were not clearly criminal, and.that none of
these felonious activities ever took placer including the trip to New York.
y 8. Defendant was unable to produce any records or credit card charges,
plane tickets, mcals,~ cars, of the claims they made, and that Tesla had 11ch her
of travelling to New York in Nov 2013, a place that to this day, Mrs. Balanhas
never been. Regardless, Defendant did not take any action to resolve the matter.
9. Balan has attempted diligently to convince Defendant to remove the
false and defamatory statements from the internet. Plaintiff’s formaattcmey

COMPLAIN'I' AND REQUBS'I' POR lNJUNCTION - 3

 

 

 

 

10

ll

12

13~

14
15
16
l7
18
y19

20

21r

 

 

Case 2:19-Cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 4 of 20

requested the removal during the arbitration Tesla refused In September 20‘”,
2018, Plaintiti` communicated a demand to remove the false statements Tesla
murdered needed oeceber 2018, ensuing te eenfer id good aide rheee
conversations did not lead to resolution and the false claims remained

lO. It Was not until a friend of Ms. Balan’s sent a letter directly to
Hu&ington Post, that Huftington Post’s counsel, got involved This comment from
Tesla, accusing Balan of clearly felonious behavior, remained on the interact until
appronimately December 20*1‘, 2018, approximately 15 months To date, Tesla has

taken no action to mitigate the damages caused by these acts. Huliington Post i `

showed a sign of good faith, by removing the note almost immediately alter

receiving notice of Arbitrator Warner’s conclusions, but they also removed the
entire article Without any redaction.
` ll. Plaintiff brings this action to enjoin Defendant, Tesla, from further

damaging Ms. Balan. Tesla acted in malice, abusing both their public influence,

and the relationship with Balan as a litigant Tesla should be enjoined from

communicating false and defamatory statements about Ms. Balan. _
Tesla has exhibited a willingness to destroy and or conceal evidence as

referenced herein through exhibits illustrating behavior during arbitration Tesla

should be enjoined from destroying any evidence relevant to Ms. Balan’s claims

and enjoined from failing to preserve the same.

COMPLA!N'I` AND RBQUEST FOR INJUNCTION - 4

 

 

 

 

10_

11
12
13
14
15

16

17

18
19
20

21

 

 

Case 2:`19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 5 of 20

II. THE PARTIES TO THIS COMPLAINT

A. ‘ Piaintiff:

12. Piaintiff, Cristina Baian, "Balan", "Piaintiff", "Mrs. Balan", is a Well-
respected, business person, specializing in engineering, with a degree from
University of “Transylvania”, Ms. Balan is most recognized for her critical work

on Tesla's Vehicle bmteries, resulting in Tesla~ Awarding her by engraving her name

` imc the battery mcdulee. ncr meehcdclcgiee eye still used in Teele.

13. Ms Baian is also a public speaker, because of her career achievements ~
in automotive industry she was even invited to host a TEDX Talk in automotive; g
she had multiple tv shows and was part of dozens of articles internationaliy.
Including how to be a woman in automotive; Plaintiff currently owns and operates

a Design House business called Tesseract Motors LLC in Washington state.

B. The Defendant
14. Defendant, Tesla Inc., "Tesla", is a corporation from 3500 Dear Creek ~ 5

Rd, Pelc Alic california mci produces electrical vehicles end ecler pmcl

systems Its reported mission is to accelerate the world‘s transition to clean and

sustainable energy

15. Dereedem is led by ceo Elcn Muel<. Ae cfzols, Meek wee

reported to have a net worth of $20.2 Biilion and is listed by Forbes as the 46tii-

COMPLANI` AND RBQUEST FOR INJUNCTION - 5

 

 

 

 

10

11

12

13
14
15

16

17

18

19

20

215

 

 

CaSe 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 6 of 20

richmt person in the world. ln December of2016, Musk was ranked 21st on the
Forbes List of the World's Most Powerfill People. At all times relevant to this
action, Musk maintained a known public following through Twitter, a leading

social network, of over 21 million followers.

III. JURISDICTION AND VENUE
16. This Court has diversity jurisdiction pursuant to 28 U.S.C. §
1332(a)(2) over this defamation Ms. Balan is a resident of 'I'he State of

Washington, living in Mukiteo since 2014, being a green card resident of the

United States.

17 . Defendant, 'I`esla Inc., is a corporate citizen of California, with its '
principle place of business, in Palo Alto California.

18. Defendant can be served with summons and complaint at it's g
headquarters ih celifomie, or through he Agehi of serve, regieieiea with the stale
of Washington's Secretary of State. l

19. o Me. helen eha reele ore citizens of diaerem accee, end the mercer ih

controversy is exceeds the sum or Value of $75,000.00, exclusive of interest and

oosts. Plainti& estimates actual damages to be far greater due to the damages tim

Tesla’s maliciously acted towards her.

20. This Court has jurisdiction cf this civil action pursuant to 28 U.S.C. § , _

y1332.As the direct and proximate result of Tesla's defamatory accusations, Ms.

COMFI.AINT AND REQUEST FOR INJUNC'HON - 6

 

 

 

 

10

11

12'

13
14

15

16`

17

18
` 19

20

21

 

 

Case 2:»19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 7 of 20

Balan suffered damage to her reputation in Washington, and Califolnia, as well as
on a national and international basis.

21 . l The communications were verbalized and written, in the State of

_ California, and published and republished to all of the United States, and

internationally
22. As one ofthe largest, and most publicized auto makers in the_U.S., led

by one of the ' most powerful and publicized people on earth', Tesla knew that the _

' false accusations would be conveyed to a worldwide and personally interested

audience

23. In this action, Ms. Balan seeks a recovery for the worldwide damage

that she has suffered to her reputation

24. This Court has both general and specific jurisdiction over Tesla.
25. Venue is proper in this Court, pursuant to 28 U.S.C. §§ 1391(1))(1)-`
(2). t
IV. FACTUAL BACKGROUND
A. numngloh Poec Article about Ms eaton

26. On September 8“‘, 2017, the Huflington Post reporter approached Ms.

l Balan and asked her to interview her about her career, but also why her

relationship with Defendant ended. This article appeared to describe Mrs._Balan

and her circumstance in a positive light. She holds that the original statements

were true EXHIBI‘I` A. 'I'his was not Ms. Balan first US article, WSJ was the first

d COMPLAINT AND REQUEST POR INJUNCT!ON - 7

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 8 of 20

1 ` ' 27. owing her interview Ms Baian laid her story ofwhal happened alter
2 replying, with`serious concerns, to Defendant’s CEO email sent in 2013 called
3 “commun;ication within Tesla” in which he explicit details what will happen if l

4 y someone from Tesla will force the chain of commands;

5 1 y “lnstead of a problem getting solved quickly, where a person ln~ ooedept
, tale to a person in another dept and makes the right thing happen people
6 are forced to talk to their manager who talks to their manager who talks to
the manager in the other dept who talks to someone on his team. Then the
7 into has to flow back the other way again. Thls is incredibly dumb.
y Any manager who allows this to happen, let alone encourages it,. will soon
8 lind themselves working at another company No klddlng.”
“Anyone at Tesla can and should small/talk to anyone else according to
9 vmat they think is the fastest way to solve a problem for the benefit of the
whole company You can talk to your managers manager without his
10 pemllssion, you can talk directly to a VP in another dept, you can wlk to `
me, you can talk to anyone without anyone else's permission Moreover,
ll you should consider yourself obligated to do so until the right thing
happens.”
12
A full and true copy of the email is attached in EXHIBIT B.
13
1 ' 28. The reporter Paul Alexander, was shocked to hear how many other
14
‘ reporters where stopped to ask the question if Elon Musk received or not Ms Balan
1 5
entails and serious evidence, containing safety, quality and management concerns
16 '
from an entire team, not just Ms Balan and concluded his article by saying:
1 7
l “Part of her claim is that she was fired for doing precisely what Musk
13 ordered his employees to do in his now-famous small -- come to him with
s information and conoems about Tesla. When she did, Musk was not only
19 unresponsive but she was fired No kidding.”
20 A full and true copy of the article is attached in EXHIBIT A
21 `
coMPLArN'r ANI) nsoussr ron mmcnoN ~ s

 

 

 

 

 

 

 

 

10

ll

12

13`

14

15

16

17

18`

19

20

21

 

 

CaSe 2219-CV-00067-|\/|.]P DOCUment l Filed 01/15/19 Page 9 Of 20

B. Tesla’s Defainatory Statements Added to Hquington\Post ardele
29. ln reaction On September ll”’, 2017, Defendant attaehed a replyto y
Hu&in`gton Post’s article, stating multiple false and defaming claims about Ms.
adm specifmany, Defendm stated in the EXHIBIT A `

30. “Ms. Balan spent company time working on a “secret project”» without

v her manager’s approval and”

31. “booked an unapproved trip to New York at 'I`esla’s expense to visit a »
potential supplier for her own personally-created project.”

32. “Ms. Balan was unhappy with a particular supplier that was'aelectetl
by an internal group of subject matter experts who extensively studied the issue
She took it upon herself to find an alternative supplier that had no prior xelevant
experience”

33. “She also illegally recorded internal convetsations within Teala
without anyone’s permission which is clearly criminal conduct”

34. Tesla continue by saying that “particularly emails that are not relevant

to out mission or the job at hand or are clearly suspect or misleading” does not

“warrants a response”.

35. “contrary to Ms. Balan’s claims, despite her own misconduct she was
never fired hom Tesla. She voluntarily resigned -- not just once, but on multiple

occasions.”

COL¢IPLAINT AND REQUEST FOR INJUNCTION ~ 9

 

 

 

 

10y

ll

12

13`

`14

15

16

17

18

19~

20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 10 of 20

36. r“Ms. Balan left 'l`esla the iirst time because we had previously
provided her with a special lO-month living stipend as an accommodation to help
her with family issues, and she wanted that stipend to be extended even fmther.
When we did not extend it, she quit” “Also contrary to her claims, she never once
informed the company she had any kind of significant medical problem prior to her
resignation”

37. Tesla in their maneuvers to convince everyone how correct they are in
holding theabsolute truth, they say Anyone in engineering legal, executive
medical, and any other fields, that “Anyone looking objectively at Ms Balan’s
theories can see that they are patently false, and frankly, completely nonsensical an

see that Balan’s theories are “patently false, and frankly, completely nonsensical.”

C. Balan’s Claims and Factual Background

38. Combined with everything that was said from Paragraph l tln'u 37 Ms.
Balan Stetes the following

39. l Ms Balan Never "spent company time working on a “secret project” ,
without her manager’s approval”. Ms Balan project was approved by the highest
level in 'I`esla after Elon Musk, 'Doug Field. Rich Heley the VP of Product
Excellenee was involved along with other 3 directors, quite a few managers and

y (a) l Mr Heley confirmed as the EXHIBIT C shows:

COMPLAINT AND REQUEST FOR lNJUNCI'ION - 10

 

 

 

 

10

ll

12

13'

14

15

16

17

18

19 '

20

~21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 11 of 20

“Crlstina l had a conversation with Doug Field tonight and he is
still interested in exploring the vlsor concept”

(b) Ms Balan also had the Financial approval as well, as seen on

EXHIBIT D, the purchase order signed and ordered by Doug Field whm asked

' about the project he said:

“Thls one is no-bralner, let‘s spend the money. lt might be to `
late for X but this could be a big feature on future vehiclee”

(c) Doug Field and an entire team of high-level executives’ support Ms.

Balan in her patent idea EXHIBIT E

“l think this is a really important technology for Tesla... l’m still
obsessed with the idea of eliminating traditional sun-viaors with
this teehnology"

40. Ms. Balan Never been to New York in her life, business or pleasure

Tesla could neverproduce any evidence of the expenses they claim they paid or

booking for any “unapproved trip to New York at Teela‘s”. It was a discussion

and planning for schedule a trip, with approval, but canceled after.

41 . Ms Balan patent idea was Not for her "own pereonaRy-ereawd projects

Was for a feature that could help Tesla products, not her personally Ide`a~that she

was asked to look into by her own direct director Eric Bach. When she come up

with an even more amazing idea, she was told by her direct manager at the time
that a woman’s brain will never be about to do a project or a patent like_this;

luckily not everyone at Tesla t`elt the same way;

` COMFLANI` AND REQUEST FOR INIUNCTlON ~ ll
J

 

 

 

 

107

ll
12

13

y14

15

16

17

18

19

20

21

 

 

Case 2:19-cv-00067-l\/|.]P Document 1 Filed 01/15/19 Page 12 of 20

42. Ms. Balan was not “unhappy with a particular supplier”, she was
unhappy to lie and cut the quality for any supplier as she was asked to. y

43. Ms listen Never “took it upon herself to find an ahernative supplier that
had no prior relevant experience”. Tesla lies again with something that are clear
evidences for.

44. On one~point Ms Balan yassistant manager let her know what projects

' are coming down the pipe As the EXIE|IBIT E will show. Ay week later she was

introduced for the tirt time to the supplier Tesla is accusing Ms Balan of taking
upon herself to find them and present herself and the project she was working on,
as the EXHIBIT F

45. Ms Balan disagree with the fact she sent “particularly entails that are
not relevant to our mission or the job at hand or are clearly suspect or misleading”

does not “warrants a response”. When people are threated because they rise quality

or safety issues,whentheyworriedthattheywillbedeported iftheytxytodov " '

what’s right and we are talking as an entire team, Ms. Balan strongly believes it is
“warrant a response” especially when those entails and evidence contain criminal
behavior!
46. Ms cans never did anything seminal Ai issue is the statement rests `
made that Ms. Balan's behavior, was clearly criminal
“S'he also illegally recorded internal conversations within Tesla

without anyone’s permission which is clearly criminal oonduct”

CGMPLAINTAND REQUEST FOR lNJUNCTION - 12

 

 

 

 

10

12
13
14
y `15
16
17
18
19
20

21'

 

 

‘ Case 2:19-Cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 13 of 20

747. Ms. Balan was not charged with a criminal action

4a 'A criminal conviction for the act rcala accused Ms. Balan of, womd
require a much greater showing of evidence, namely, proof beyond a reasonable
doubt to a moral certainty. ~

49. IfTesla felt Ms. Balan had broken the law, and damaged Tesla, it

v could have pursued criminal and or civil action through the appropriate channels

available when Ms. Balan presented the evidence of serious acts inside Tesla. The
only thing Ms. Balan Wanted was to show her CEO what was going on Tesla did '
not pursue civil action, nor was criminal action brought against Ms. Balan. Tesla
knew the statute of limitations, which would have arisen if their accusation Were
true, has run ont.

50. rConsequently, Tesla's right as a U.S. citizen to have any court of
competent jurisdiction mic on mo marrch mcrirs, and ro claim ira claim lo mar
ruling, has also been extinguished through waiver. y

571.` "Tesla did not state its opinion was that Balan's behavior was criminal.

52. Tesla statedthat Balan's behavior was 'cleai'ly criminal'. Tesla
intended this claim to represent their conclusions, and to cause others'to arrive at
rim name oonoloaion.' in short rcala'a claim ororimmai bchavior come nor ortho

time, have been less ’clear'. At the time Tesla admitted they warned Ms. Balian to

` destroy the evidence/recordings.

COMPLAWT AND REQUEST FOR INJUNCT!ON - 13

 

 

 

 

10'
ill

12

13

14

15
16

17`

18

19

20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 14 of 20

53. Ms Balan never “She voluntarily resigned - not just once, but on mul®h `
occasions.” She was forced out alter opening an internal investigation which Tesla
Never “investigated extensively", if not other colleagues of Ms. Balan will be tired
and deported Ms Balan was petritied and then sent her resignation

54. Ms. Balan did not “left 'I`esla the first time” because the “living
stipen ” was not “extended even fm'tlier”. It was because she told Tesla they are
breaking the law, as she was misclassiiied. Ms Balan Win the hrlisclassitication.

IF Tesla would have not breaking the law and paid accordingly Ms. Balan;
there not have been two resignation discussions l v

55. Ms Balan disagree on the statements “Also contrary to her daims, she
never once informed the company she had any kind of significant medical problemde

to her leslgnation”. Not Forrnally, but Tesla knew thru an internal party that Ms. `

vB»alan was part of, the fact Ms. Balan will find out in 5 days if the multiple minors

she just found out she has on her breasts could be cancer This happened two days

after Ms. Balan agreed to retract her resignation for misclassitication and Tesla '

` mccann Ali ala work war giving back ro Ms. Balan like nothing happenca rwo a

days after the cancer news, 'l`esla “change their min ” and told Ms. Balan is her
last day.

56 Laicr Ms. Balan roqncsrod an mo omaiis of nor last wcok, our resin
legal counselor testified that the entire company, everyone, lost 3 weeks ot` emails,
but on one-point just ‘soine emails’ from the “glitc ” period appeared

CGMPLAINT AND REQUEST FOR. INJUNCT!ON - 14

 

 

 

 

10
ll
12
ii
14
15

16

17

18

19

20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 15 of 20

Tesla’s IT expert could not explain how that happened

57. l A few months later 'I`-esla approached Ms Balan and asked law about
her health She responded she is well, and her tumors are not cancer; soon after
Tesla asked Balan to rehire to Tesla, but with the conditions to forget what
happened 3-4 months before, between her and 'I`esla related to cancer. Balan agee

58. Ms. Balan’s claims are not theories are facts not only objective but are
backed by clear evidence and she strongly disagree that “they are patemly false,
and frankly, completely nonsensi ”

59. Ms. Balan took multiple steps to attempt to mitigate her damages

Ms. Balan instructed her attorney to take reasonable action to remedy theillegal

` act. He stated that he had called Tesla, but the reply was not be removed

60. Mr. Balan attorney prepared a statement to send a comment to
Huftington Post to remove the comment or post a reply; she did what she visa
instructed HuMngton Post did nothing; they refuse to publish Ms Balan comment ’
EXHIBIT I;

61 . As a last result until the current litigation will close and Ms. Balan
wmc on her blog what she thought Was untrue in Tesla’s note. Mr.» Balan attorney
reminded hoi- ihoi rosa is voiy malicious and should stop updating he biog foi-
now.

62. Ms Balan lawyer asked her to focus on finalized her current legal ease
with rosa or tva time boroi-o opening the oofomoiioo lawson bia ma changed

COMPLAINT AND REQUEST FOR NUNCTION - 15

 

 

 

 

 

 

 

10

11

12

13'

14

15

16

17

18

19

20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 16 of 20

after Tesla’s CEO Elon Musk, stated publicly on August 2018 that his and
automatically his company legal position is that if a person publishes statements

about you that damage you, and you don’t sue the person who is the source of the

1 statements, they must be true. Mr. Musk’s total followers worldwide on 'l`witter,

currently sits at approximately 22.5 million followers.

63. All of the false and defamatory accusations by Tesla against Balan,
were published without privilege and with actual knowledge of falsity, or with a
reckless disregard for truth or falsity.

64. At the time when Tesla made the defamatory statements Tesla knew
Ms. Balan Was suffering from PTSD li'om the way Tesla threated her to destroy her
evidences and for her finals moment at Tesla and knowing that Tesla still made
those defamatory statements

65. On Sect 20, 2018 Ms. Balan Sent a letter of intent and: entail to Tesla’s
CEO Elon Musk. EXHIBIT J and K

66. ln the end of October Tesla’s counselor contacted Ms LBalan to discuss
her demands The most critical one was for Tesla to remove its note.

67. Instead of retracting its false accusations, and ceasing its campmgn of

litigant abuse, the defendant didn’t take any action to insure the defaming

comments Were retracted and stop been publicized worldwide, md‘densely within

' audiences of Ms. Balan's professional field.

COMPLAINT AND REQUEST FOR INIUNCI'ION - 16

 

 

10

ll

12

13

142

15'

16
17

18

19r

20

21 l.

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 17 of 20

V. CAUSE OF ACTION FOR DEFAMATION

`68. Ms. Balan reasserts and incorporates by reference paragraph l - 67 of

this complaint

69. Tesla's publications in Exhibit A, as referenced in paragraphs 29, 30, 31,

` 32, 33, 34, 35, 36, 37 are hereinafter referred to as the "False and Defamatory

Accusations."

70.' the Unirsd states has passed multiple civil and criminal pissss sr
legislation, to protect both small, medium, and large businesses, from the types of
illegal activity Tesla accused Balan of. Tesla's False and Defamatory Aecusations
falsely accused Balan of (1) Spending company money without approval (2)
Booking an unapproved trip to New York. (3) Producing a secret project for
'I`esla's windshields, at Tesla‘s expense, without their knowledge, and for Balan’s
personal gain. (4) Installed said windshield in Tesla's vehicle, without the
compaan knowledge or approval (5) Performed acts which were clearly criminal. `

71 . Balan did not spend company money without proper approval

72. Balan did not book an unapproved trip to New York.

73. Balan did not produce a secret project for Tesla's cars at Tesla's
unapproved expense without their knowledge, and for , her personal interests

74. Balan did not install a windshield in 'Iesla's vehicle(s) without the

company's knowledge or approval.

7 5. Balan did not perform acts which were clearly criminal

, CGMPLAINT AND REQUEST FOR IN.TUNCTION - 17

 

 

 

10

ll

12

13

14'

15

16

17

18

19

20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 18 of 20

76. The False and Defamatory Accusations were published without

privilege and were published with actual malice.

77. Some of The False and Defamatory Accusations are defamatory per
se, and damages to Ms. Balan are presumed as a matter of law.
7 8. The False and Defamatory Accusations are libelous on their face in

that they are defamatory of Ms. Balan without necessity of explanatory amter or

1 other extrinsic facts, and/or they impute to Balan criminal conduct

79. The False and Defamatory Accusations directly and proximately
caused substantial and permanent damage to Balan.

80. 'l`esla published the False and Defamatory Accusa:tions with actual
msliee, inst is, with knowledge er falsity er s peerless disregard res use mich er g
falsity.

81 .r Tesla has never retracted the statements

82. Tesla published the statements, and manipulated their placement

`Tesla was upset about the article placing Balan in a positive realistic light, and the

possibility sellers will asked Mr. Mesk again iflie received Ms. sales emsils sen
critical information y

83. Clearly h'ustrawd from Huflington Post’s positive piece about Balan,
Tesla sought to take swilt and final action, to destroy the reputation of Balan.

84. Tesla is liable for damages for each False and Defamatory
Accusations, as Tesla had 3 years of litigations, depositions and discovery with

COMPLAINT AND REQUE‘ST FOR INJUNCI'ION ~ 18

 

 

 

10

ll

12

13'

14

15

16

17
18
19
20

21

CaSe 2:19-cv-00067-|\/|JP Document 1 Filed 01/15/19 Page 19 of 20 '

Ms. Balan and they were aware at the time they wrote this article note, of all the l '
ins and outs. All the Exhibits that are presented here Tesla had them for years

85. Ba.lan has suffered an incredible amount of emotional disuess as a
result of Tesla’s False and Defanlatory Accusations. Exhibit A

86. Because 'I`esla published the False and Defarnatory Accusations with

il both Constitutional and common law malice, Ms. Balan is entitled to an award of

punitive damages to punish it for it"s wrongdoingand deter him from repeating
soon inappropriate behavior in the more against others y y
87. 'I`esla's conduct was willful and demonstrates a desire to dominate,

` and to control, not just financial returns, but the individuals laboring for diem
88. 'I`esla’s conduct shows desire to control its public weepdm md a
willingness to catastrophically damage individuals Who oppose that view, be it a
corporation cr a family, without regard for Al:nerican Civil Law.

WHEREFORE, Plaintiff, Cristina Balan, respectfully prays for judgment against
`Defendant, Tesla Inc., as follows:

(a) Judgement be entered against Defendant, Tesla Inc., for compensatory damages g
in an amount in excess of Seventy-Five Thousand Dollars ($75,000), to be

calculated at Trial.

l (b) Judgement be entered against Plaintiff Tesla Inc., for punitive damW in an
mount determined at trial, in an amount that is just by the evidence, and serving to
punish 'I`esla., and deter it from repeating such conduct.

COMYLA]NT AND REQUEST FOR INIUNCTION - 19

 

 

 

10

11

12

13

14

15

16l

17

18

197v

20

21

 

 

Case 2:19-cv-00067-|\/|.]P Document 1 Filed 01/15/19 Page 20 of 20

(c) A preliminary injunction be issued against Defendant, ordering Tesia to retract

the False and Defamatory Accusations, and enjoining them from making Faise and
Defamatory Accusations In the future.
,(d) That all costs of this action be taxed to Defendant; and

(e) That the Court grant all such other and further relief that the Court seems just

band proper.

JURY TRIAL DEMANDED

oaer January 15, 2019

cRIsTINA BAL.AN -Flaimiir

/ .

 

CGMPLAINT AND REQUEST FOR INJUNCTION - 20

 

